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AO 441 (Rev. 07/10) Summons on Third-Party Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                         MiddleDistrict
                                                    __________ Districtofof__________
                                                                            Florida

                    ABDULLAH RABBAT,
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )
                                                                            Civil Action No. 6:17-cv-278-Orl-28KRS
 COVINGTON SPECIALTY INSURANCE COMPANY
                                                                    )
                 Defendant, Third-party plaintiff
                                                                    )
                                v.                                  )
        ORANGE COUNTY SHERIFF’S OFFICE
                      Third-party defendant
                                                                    )

                                         SUMMONS ON A THIRD-PARTY COMPLAINT

To: (Third-party defendant’s name and address) Orange County Sheriff's Office,
                                                    Sheriff Jerry L. Demings
                                                    2500 W. Colonial Dr., Orlando, FL 32804
                                                    (LEGAL DEPT)




         A lawsuit has been filed against defendant COVINGTON SPECIALTY, who as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff ABDULLAH RABBAT        .

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
defendant’s attorney, whose name and address are:
 William R. Lewis, Esq., Christopher M. Ramey, Esq., BUTLER WEIHMULLER KATZ CRAIG LLP, 400 N. Ashley Dr.,
 Tampa, FL 33602; Phone: 813-281-1900; Email: wlewis@butler.legal; cramey@butler.legal; eservice@butler.legal


         It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:
  Asher Perlin, Esq., Yemil Aragon, Esq., Florida Professional Law Group, LLC, 4600 Sheridan Street, Suite 303,
  Hollywood, FL 33021, Phone 954-284-0900 Email: aperlin@flplg.com; yaragon@flplg.com; eservice@flplg.com.


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

         A copy of the plaintiff’s complaint is also attached. You may – but are not required to – respond to it.

Date:          09/05/2017
                                                                             CLERK OF COURT


                                                                                         Signature of Clerk or Deputy Clerk
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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

          ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                        , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

          ’ I returned the summons unexecuted because                                                                                 ; or

          ’ Other (specify):
                                                                                                                                           .

           My fees are $                          for travel and $                   for services, for a total of $          0.00          .

           I declare under penalty of perjury that this information is true.



 Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                              Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                Add Attachment                                               Reset
